17-09010-cgm   Doc 1-1    Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 1 of 33
17-09010-cgm   Doc 1-1    Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 2 of 33
17-09010-cgm   Doc 1-1    Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 3 of 33
17-09010-cgm   Doc 1-1    Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 4 of 33
17-09010-cgm   Doc 1-1    Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 5 of 33
17-09010-cgm   Doc 1-1    Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 6 of 33
17-09010-cgm   Doc 1-1    Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 7 of 33
17-09010-cgm   Doc 1-1    Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 8 of 33
17-09010-cgm   Doc 1-1    Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 9 of 33
17-09010-cgm   Doc 1-1     Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 10 of 33
17-09010-cgm   Doc 1-1     Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 11 of 33
17-09010-cgm   Doc 1-1     Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 12 of 33
17-09010-cgm   Doc 1-1     Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 13 of 33
17-09010-cgm   Doc 1-1     Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 14 of 33
17-09010-cgm   Doc 1-1     Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 15 of 33
17-09010-cgm   Doc 1-1     Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 16 of 33
17-09010-cgm   Doc 1-1     Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 17 of 33
17-09010-cgm   Doc 1-1     Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 18 of 33
17-09010-cgm   Doc 1-1     Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 19 of 33
17-09010-cgm   Doc 1-1     Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 20 of 33
17-09010-cgm   Doc 1-1     Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 21 of 33
17-09010-cgm   Doc 1-1     Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 22 of 33
17-09010-cgm   Doc 1-1     Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 23 of 33
17-09010-cgm   Doc 1-1     Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 24 of 33
17-09010-cgm   Doc 1-1     Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 25 of 33
17-09010-cgm   Doc 1-1     Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 26 of 33
17-09010-cgm   Doc 1-1     Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 27 of 33
17-09010-cgm   Doc 1-1     Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 28 of 33
17-09010-cgm   Doc 1-1     Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 29 of 33
17-09010-cgm   Doc 1-1     Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 30 of 33
17-09010-cgm   Doc 1-1     Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 31 of 33
17-09010-cgm   Doc 1-1     Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 32 of 33
17-09010-cgm   Doc 1-1     Filed 04/11/17 Entered 04/11/17 09:34:40   Exhibit A -
                         Judgment of Divorce Pg 33 of 33
